                  EXHIBIT 3




Case 3:24-cv-00051-SLG   Document 68-4   Filed 08/09/24   Page 1 of 3
From:             Skibo, Bobbie Jo
To:               Boario, Sara D; Lor, Socheata; Loya, Wendy M
Cc:               Cebrian, Merben R; Sanchez, Ronnie; Cribley, Bud C; Routhier, Michael P; Medeiros, Andrea AM
Subject:          FW: [EXTERNAL] eNEPA receipt of Coastal Plain Oil and Gas Leasing Program Draft Supplemental EIS
Date:             Tuesday, September 5, 2023 11:30:11 AM


*******CLOSE HOLD, DO NOT SHARE beyond this recipient group******
This is a heads up that yesterday (yes, on the holiday), BLM’s Director Tracy Stone Manning asked
our team to upload the Draft SEIS for publication on this Friday, August 8th. Our team is now in over
drive getting everything prepped for the release, Cooperating Agency meeting (we were asked
specifically not to let them know its coming yet), and the public meetings/hearings.

I spoke with Sara last night and she is aware…stay tuned for further updates as I know them.
~Bobbie Jo


From: EIS-Filing <EIS-Filing@epa.gov>
Sent: Monday, September 4, 2023 2:33 PM
To: Sweet, Serena E <ssweet@blm.gov>; Skibo, Bobbie Jo <bobbiejo_skibo@fws.gov>
Cc: Kuhns, Stephanie L <skuhns@blm.gov>; EIS-Filing <EIS-Filing@epa.gov>; Roemele, Julie
<Roemele.Julie@epa.gov>; Tomiak, Robert <tomiak.robert@epa.gov>; Barger, Cindy
<Barger.Cindy@epa.gov>; Abrams, Nancy <Abrams.Nancy@epa.gov>
Subject: [EXTERNAL] eNEPA receipt of Coastal Plain Oil and Gas Leasing Program Draft Supplemental
EIS




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                                               or responding.  




This email confirms receipt of your filed Draft Supplemental Environmental Impact Statement (EIS)
titled, “Coastal Plain Oil and Gas Leasing Program” (EIS/CEQ no. 20230116). The filed EIS will be part
of the Environmental Protection Agency’s (EPA) Notice of Availability (NOA) and published in the
Friday, September 8, 2023 Federal Register. Your EIS comment period ends on October 23,
2023. If this date is incorrect, please contact the EPA immediately. Please note that the official
minimum comment/review periods are calculated from the date of the EPA’s published NOA and
cannot end on a weekend or a Federal holiday.
Please contact EIS-Filing@epa.gov if changes need to be made to the EIS record such as correcting
pdfs, withdrawing an EIS, or delaying, extending, or reopening a comment/review period. If your
agency requires a comment/review period extension, please send an official notification making the
request through e-NEPA. Official notification may be a signed letter on agency letterhead by an
appropriate approving official or a copy of the agency’s published Federal Register public notice
detailing a comment/review period extension. An email is not a sufficient official notification. When
your request is received, you will receive an email confirmation and an amended notice will be

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      Case 3:24-cv-00051-SLG                  Document 68-4               Filed 08/09/24             Page 2 of 3 1 of 2
published in the EPA’s NOA. In addition, if your agency needs to withdraw the EIS, please send the
EPA a letter on agency letterhead making the request.
For additional information, please visit: https://www.epa.gov/nepa/environmental-impact-
statement-filing-guidance.
If you have additional questions on e-NEPA and EIS filings, please do not hesitate to contact me at
202-564-5632 or by email at roemele.julie@epa.gov or EIS-Filing@epa.gov or Jonathan Simpson at
202-564-8168 or by email at simpson.jonathan@epa.gov.
Thanks,


Julie A. Roemele
Office of Federal Activities
NEPA Compliance Division
Environmental Protection Agency
Office: 202-564-5632
Cell: 202-309-0141




                                                                                             Exhibit 3
     Case 3:24-cv-00051-SLG            Document 68-4         Filed 08/09/24       Page 3 of 3 2 of 2
